Case 2:16-cv-14527-RLR Document 37 Entered on FLSD Docket 10/23/2017 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 2:16-CV-14527-ROSENBERG

  PATRICIA A. KLEIN, on behalf of herself
  and all others similarly situated,

         Plaintiff,

  v.

  MCKINNON & HAMILTON, PLLC,
  a Florida Limited Liability Company, and
  CHARLES W. MCKINNON, individually,

        Defendants.
  _________________________________________/

                      JOINT MOTION FOR PRELIMINARY APPROVAL OF
                              CLASS ACTION SETTLEMENT

         Plaintiff, Patricia A. Klein, (the “Plaintiff” & “Class Representative”), and Defendants,

  McKinnon & Hamilton, PLLC and Charles W. McKinnon, (“Defendants”) request that the Court

  enter an order: (1) preliminarily approving the proposed Class Action Settlement Agreement and;

  (2) setting a hearing to finalize approval of the Class Action Settlement Agreement.

         In support of their Joint Motion, the Parties state:

         1.      Counsel for Plaintiff and Defendants have reviewed and analyzed the factual and

  legal issues presented in this action, the risks and expense involved in pursuing the litigation to

  conclusion, the likelihood of recovering damages in excess of those obtained, and possible

  outcomes of one or more procedural and/or substantive appeals.

         2.      Based upon this review and analysis, Plaintiff and Defendants embarked upon and

  concluded comprehensive settlement discussions which resulted in the execution of the Class

  Action Settlement Agreement (the “Class Settlement Agreement”) attached hereto as “Exhibit 1”.
Case 2:16-cv-14527-RLR Document 37 Entered on FLSD Docket 10/23/2017 Page 2 of 6




         3.      The Parties desire to settle and compromise the Class Action on the terms and

  conditions embodied in the Class Settlement Agreement and the Court has certified a Class of

  approximately 61 members defined as follows:

                 (i) all persons with addresses in the State of Florida (ii) to whom
                 initial communication letters were mailed, delivered or caused to be
                 mailed or delivered by Defendants (iii) that contained the phrases
                 “Please forward a check in the above amount payable to McKinnon
                 & Hamilton, PLLC Trust Account for processing. If we do not
                 receive your payment within thirty days from your receipt of this
                 letter, a Claim of Lien will be recorded in order to secure unpaid
                 assessments, as well as costs, interest and attorney’s fees incurred in
                 collecting the assessments.” (iv) that were not returned
                 undeliverable by the U.S. Post Office (v) in an attempt to collect a
                 debt incurred for personal, family, or household purposes (vi) during
                 the one year period prior to the filing of the original Complaint in
                 this action through the date of certification.

         4.      A Class having been previously certified in this action, [DE 23], the Parties

  respectfully submit that all of the requirements of Rule 23 of the Federal Rules of Civil Procedure

  have been satisfied.

         5.      Under the terms of the Class Settlement Agreement and subject to Court approval:

                 a.      Defendants will pay each Class Member, who did not opt out of the Class

                         Settlement Agreement and Class Action, an equal share of the $23,111.04

                         (1% of the net worth of Defendants’) fund (“Settlement Fund”).

                 b.      Defendants will pay $2,000.00 in total to the Class Representative for her

                         role in this litigation.

                 c.      Upon approval by the Court, the Defendants will pay the reasonable

                         attorney’s fees and costs of Class Counsel in the amount of $13,000.00. This

                         amount is to be paid in addition to, and not out of, the amounts paid to the

                         Class Representative and the Class Members. For purpose of this Motion,
Case 2:16-cv-14527-RLR Document 37 Entered on FLSD Docket 10/23/2017 Page 3 of 6




                        the Defendants concede that Plaintiff is the prevailing party exclusively for

                        allowance of an award of attorney’s fees and costs.

                 d.     Using First Class, Inc. as the Settlement Administrator, Plaintiff must cause

                        to be mailed by first class mail: (1) the Notice of Class Action Settlement

                        and (2) the settlement checks.

                 e.     Defendants will pay the costs of (1) providing the Notice of Class Action

                        Settlement to each of the Class Members at their last known addresses, or

                        such an address as Defendants are able to locate through their best efforts

                        using all information at hand, using First Class, Inc. as the Settlement

                        Administrator, and (2) all other costs for settlement administration

                        including the creation and mailing of settlement checks.

                 f.     To the extent that there are any funds from un-cashed, expired settlement

                        checks said funds will be paid to Florida Rural Legal Services, Inc., as a cy

                        pres award for consumer representation, education and advocacy within the

                        geographic boundaries of the United States District Court for the Southern

                        District of Florida.

         6.      Counsel for Plaintiff and the Class believe that the settlement of this action on the

  terms and conditions set forth in the Class Settlement Agreement is fair, reasonable, and adequate,

  and would be in the best interests of the members of the Class. The Class Settlement Agreement

  was the product of arm’s length negotiations.

         7.      The Parties desire to settle and compromise the litigation on the terms and

  conditions embodied in the Class Settlement Agreement. Should the Parties resume litigation the

  Class faces considerable risk that a judgment, should one be forthcoming at all, would not exceed
Case 2:16-cv-14527-RLR Document 37 Entered on FLSD Docket 10/23/2017 Page 4 of 6




  the Settlement Fund, as the amount of Settlement Fund, i.e. the $23,111.04, constitutes the

  maximum available statutory damages recoverable to this Class under the Fair Debt Collection

  Practices Act.

         8.        For purposes of the awarding of attorney’s fees, Plaintiff shall be considered the

  prevailing party.

         9.        The Court has previously approved the form of the Notice of Pendency of Class

  Action that was sent to the Class, previously attached to the Plaintiff’s Unopposed Motion Seeking

  Approval of Class Notice Form and Notice Plan and Memorandum in Support Thereof [DE 25-1].

  A Notice of Compliance informing the Court that the Notice of Pendency of Class Action was

  mailed to the Class Members was filed with the Court on June 19, 2017. [DE 31].

         10.       A Notice of Class Action Settlement shall be sent to all identified Class Members.

  Each Class Member that did opt out or otherwise exclude themselves will be sent their pro rata

  share of $23,111.04. The Notice of Class Action Settlement is attached hereto as “Exhibit 2.”

         11.       The Parties have agreed on the language of the Proposed Preliminary Approval

  Order of the Class Action Settlement attached hereto as “Exhibit 3.”

         WHEREFORE, the Parties respectfully request that the Court enter an Order: preliminarily

  approving the proposed Class Action Settlement and set a hearing to finalize approval of the Class

  Action Settlement.

  Dated: October 23, 2017

                                                        Respectfully submitted,

                                                        /s/Leo W. Desmond
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Case 2:16-cv-14527-RLR Document 37 Entered on FLSD Docket 10/23/2017 Page 5 of 6




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Case 2:16-cv-14527-RLR Document 37 Entered on FLSD Docket 10/23/2017 Page 6 of 6




                                   CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on October 23, 2017, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this date via U.S. mail and/or some other authorized manner for those counsel or

  parties, if any, who are not authorized to receive electronically Notices of Electronic Filing.




                                                         /s/ Leo W. Desmond
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